     Case 4:19-cr-00264-SDJ-KPJ Document 37 Filed 10/31/19 Page 1 of 3 PageID #: 116

DATE 10/31/19                                                 CASE NUMBER 4:19-cr-264 SDJ/KPJ
LOCATION Plano                                                USA                          Assigned
JUDGE Kimberly C. Priest Johnson                               V                          Appeared
DEPUTY CLERK TovaMcEwen
COURT REPORTER Digital Recording
                                                               U u.U t         ;
INTERPRETER:
USPO:
                                                                                 I A D. . t n £-•Tit.                  r> ;
BEGIN: '¦ f             •                                                                                                  i
                                                                                  O             i    ifi           rj      '
                                                                   A           d<           €C-                »         ;
                                                              Defendants
                                                                ¦"         !     :         --                        C'




                                                              Attorneys


      INITIAL APPEARANCE
      ARRAIGNMENT as to
      DETENTION HEARING as to

      Hearing Held                   Hearing Called                 Defendants Sworn                    Interpreter required
      Dft #5 appears:         with       without counsel            appearing on Indictment
      Dft #7 appears:         with       without counsel            appearing on Indictment
      Dft # 8 appears:        with       without counsel            appearing on Indictment
      Dft # 9 appears:        with       without counsel            appearing on Indictment
      Dft# 10 appears:        with Q without counsel                appearing on Indictment


      Defendants                                         are the individuals named in the Indictment.
      Defendant          is not the person as named in the Indictment,                                                           name given.


      Date of Arrest All on 10/30/19

      Defendants ,

         advised of right to counsel El received copy of indictment                   waived reading of indictment

         advised of charges [3 advised of maximum penalties



O     DFT # 5 advises the Court that he/she 10 has counsel who is _                                     or, will hire counsel.

      If dft cannot retain counsel, the court is to be advised within          days so counsel may be appointed.

      DFT # 5 Requests appointed counsel, is sworn & examined re: financial status.

      Financial affidavit executed by dft. The court finds the defendant able unable to employ counsel.

                                  appointed                      . U.S. Pub Defender                                           . appointed



IB DFT # 7 advises the Court that he/she                       has counsel who is or, ul will hire counsel.

      If dft cannot retain counsel, the court is to be advised within days so counsel may be appointed.

      DFT # 7 Requests appointed counsel, is sworn & examined re: financial status.



GRIM 92-116                                  d See reverse/attached for additional proceedings                                                 Adjourn
       Case 4:19-cr-00264-SDJ-KPJ Document 37 Filed 10/31/19 Page 2 of 3 PageID #: 117
        Financial affidavit executed by dft. The court finds the defendant able unable to employ counsel.

                                    appointed               . U.S. Pub Defender appointed



 f DFT # 8 advises the Court that he/she                      has counsel who is or,                   will hire counsel.

        If dft cannot retain counsel, the court is to be advised within days so counsel may be appointed.

13 DFT # 8 Requests appointed counsel, is sworn & examined re: financial status.

D Financial affidavit executed by dft. The court finds the defendant able 10 unable to employ counsel.

[0 ¦ ¦ ' ¦ ¦          appointed                     . U.S. Pub Defender appointed




[Si DFT # 9 advises the Court that he/she            has counsel who is t kJ.I) Ik / Ulf         f    or,       will hire counsel.

        If dft cannot retain counsel, the court is to be advised within days so counsel may be appointed.

        DFT # 9 Requests appointed counsel, is sworn & examined re: financial status.

        Financial affidavit executed by dft. The court finds the defendant able unable to employ counsel.

                                    appointed                . U.S. Pub Defender appointed



        DFT # 10 advises the Court that he/she                      has counsel who is or,                  will hire counsel.

        If dft cannot retain counsel, the court is to be advised within days so counsel ay be appointed.

df DFT # 10 Requests appointed counsel, is sworn & examined re: financial status.

[9 Financial affidavit executed by dft. The court finds the defendant able D unable to employ counsel.

[        appointed                             . U.S. Pub Defender appointed




        ORAL Motion for detention by USA 0 ORAL Motion for continuance by USA                          Oial Order granting Oral Order denying

        Defendants ORAL motion to continue detention hearing                                           Oral Order granting Oral Order denying

        Detention Hrg set _                                                                                 ¦       '        itf   ;   „   •-.     ti

        Arraignment set _j
                                                                                           iT£
                                                                                                     t          )       7.         f SC:
         Order setting conditions of release

        Defendant                          signed Waiver of Detention Hearing and remanded to custody of U.S. Marshal.

         Order of Detention                                                                                                   A | Tl i V-c' i , ilt AA.

        Defendants                                        remanded to custody of U.S. Marshal.                          tua ia. A \UCrfAA

                                                                                                                              tc A A-'a ;n          f OUt-
                                                          ARRAIGNMENT                                                              ,   .    .       .     A


*        Arraignment held .                      Arraignment called.           Arraignment reset:                                  At A    )y   -.ii. ,



         Dft#    0 sworn
                   0 received copy of charges          discussed charges with counsel                charges read
                   0 waived reading of charges


         Dft enters a plea of: 0 not guilty 0 guilty 0 nolo 0 guilty - lesser
         to counts: 0 1 02 0 3 0 4 Bo 06 07 08 09 0 10 011 0 12 0
         0 all counts 0 indictment includes forfeiture provisions




GRIM 92-116                                    E See reverse/attached for additional proceedings                                                          Adjourn
       Case 4:19-cr-00264-SDJ-KPJ Document 37 Filed 10/31/19 Page 3 of 3 PageID #: 118
  ' Dft# 3        sworn
                       received copy of charges         discussed charges with counsel           charges read
                       waived reading of charges




         Dft enters a plea of:      not guilty     guilty   nolo   guilty - lesser
         to counts: Dl D2 D3 D4 D5 D6                                         ? D8 D9 DlO                      11       12
            all counts indictment includes forfeiture provisions


         Dft #4     sworn
                       received copy of charges         discussed charges with counsel           charges read
                       waived reading of charges




         Dft enters a plea of:      not guilty     guilty   nolo   guilty - lesser
         to counts: Dl D2 D3 D4 D5 D6                                           ? 08 D9 DlO Dll                         12
            all counts indictment includes forfeiture provisions


         Dft # 5      sworn
                       received copy of charges         discussed charges with counsel           charges read
                       waived reading of charges




         Dft enters a plea of:      not guilty     guilty   nolo   guilty - lesser
         to counts: Dl D2 03 D4 05 06                                          ? D8 D9 DlO Dll                          12
            all counts indictment includes forfeiture provisions


[p Pretrial Discovery and Inspection Order entered. Case set for final pretrial conference / jury selection and trial setting on :
                       Monday, January 6,2020 at 9:00 am in Plano, Texas before Judge Sean Jordon >


         Government                                                                  motion




         Defendant motion


         Defendants                   ' remanded to custody USM


         Defen ants                    released on Conditions of Release


OTHER P OCEEDINGS:


IS Recess
